Case 8:13-cr-00363-JSM-AEP Document 73 Filed 02/18/14 Page 1 of 2 PageID 211




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


  UNITED STATES OF AMERICA

  v.                                                 Case No. 8:13-cr-363-T-30AEP

  ALAIN CEBALLOS-RODRIGUEZ


                         FINAL JUDGMENT OF FORFEITURE

         THIS CAUSE comes before the Court upon the United States= Motion for a

  Final Judgment of Forfeiture (Doc. 70), pursuant to 21 U.S.C. § 853(n)(7), 28

  U.S.C. § 2461(c), and Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure,

  for a Cadillac CTS Sedan, Vehicle Identification Number 1G6DM577240165952.

         On December 17, 2013, the Court entered a $6,345.17 Forfeiture Money

  Judgment, pursuant to 18 U.S.C. § 982(a)(2), and a Preliminary Order of Forfeiture

  against the vehicle identified above, pursuant to 18 U.S.C. §§ 982(a)(2) and

  1029(c)(1)(C). Doc. 51.

         In accordance with 21 U.S.C. § 853(n) and Rule 32.2(b)(6)(C), the United

  States published notice of the forfeiture and of its intent to dispose of the vehicle on

  the official government website, www.forfeiture.gov, from December 18, 2013

  through January 16, 2014. Doc. 55. The publication gave notice to all third

  parties with a legal interest in the vehicle to file with the Office of the Clerk, United

  States District Court, Middle District of Florida, Sam Gibbons Federal Courthouse,

  2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a petition to
Case 8:13-cr-00363-JSM-AEP Document 73 Filed 02/18/14 Page 2 of 2 PageID 212




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